     Case 2:20-cv-11729-SB-RAO Document 23 Filed 04/18/21 Page 1 of18,
                                                             April  2 2021
                                                                       Page ID #:101

                                                                          VPC

1
                                UNITED STATES DISTRICT COURT
2

3                          CENTRAL DISTRICT OF CALIFORNIA
4
      NAHID SEDAGHATFAR,                          Case No.: 2:20-cv-11729-SB-RAO
5
                   Plaintiff,
6
                                                  ORDER TO SHOW CAUSE RE:
7     vs.                                         DISMISSAL
8
      IDT DOMESTIC TELECOM, INC.,
9
                   Defendant
10

11
            The parties filed a notice of settlement on April 16, 2021.
12

13          IT IS HEREBY ORDERED that the parties are to show cause why the
14    action should not be dismissed with prejudice on June 18, 2021 at 8:30 a.m. If the
15    parties file a proposed order to dismiss the entire action with prejudice by June 11,
16    2021, the OSC shall be taken off calendar without further notice. Otherwise, the
17    parties shall file a status conference report by June 11, 2021 and appear at the OSC
18    hearing.
19          IT IS FURTHER ORDERED that all other hearings and deadlines are
20    vacated.
21
            NOTICE: The parties are advised that the Court will not continue the
22
      OSC hearing, absent a detailed, compelling showing in the status report why the
23
      settlement has not been—and reasonably could not have been—completed, and
24
      the parties should be prepared for the Court to set a trial date within 60 to 90 days
25
      (or the Court may reinstate any vacated deadlines).
26

27

28
     Case 2:20-cv-11729-SB-RAO Document 23 Filed 04/18/21 Page 2 of 2 Page ID #:102



1
      Dated: April 18, 2021
2

3

4                                                Stanley Blumenfeld, Jr.
5
                                                United States District Judge

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
